           Case 4:21-cv-00548 Document 1-3 Filed on 02/19/21 in TXSD Page 1 of 11

                                                    CAUSE NO. 202103813
COPY OF PLGADING PROVIDLD BY PLT


                                                                RECEIPT NO: 886732 TRACKING NO: 73833594
                                                                      EML
Plaintiff:                                                                        In The 270th
HERNANDEZ, LARRY                                                                  Judicial District Court of
vs.                                                                               Harris County, Texas
Defendant:                                                                        201 CAROLINE
HOME DEPOT USA INC                                                                Houston, Texas
                                                    CITATION CORPORATE
THE STATE OF TEXAS
County of Harris

To:    HOME DEPOT USA INC (FOREIGN FOR-PROFIT CORPORATION) MAY BE SERVED THROUGH ITS
REGISTERED AGENT CORPORATION SERVICE COMPANY D/B/A CSC-LAWYERS INCORPORATING
SERVICE COMPANY
211 E 7TH STREET SUITE 620 AUSTIN, TX 78701
OR WHEREVER IT MAY BE FOUND

        Attached is a copy of: PLAINTIFFS ORIGINAL PETITION JURY DEMAND AND DISCOVERY REQUESTS

This iiistrument was filed on January 21, 2021 in the above cited cause number and court. The instrument attached describes
the claim against you.

        YOU HAVE BEEN SUED. You may employ an attorney. If you or your Attorney do not file a written answer with
the District Clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration date of 20 days after
you were served this citation and petition, a default judgment may be taken agaiiist you. In addition to filing a written answer
with the clerk, you may be required to make initial disclosures to the other parties of this suit. These disclosures generally
must be made no later than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

        This citation was issued on January 22, 2021, under my hand and seal of said court.



Issued at the request of:                             „r ==-_-~,~,                  Marilyn Burgess, District Clerk
                                                f   ~,'~ p~ HARR •
                                                                ~s
NAVA, RICHARD JASON                            sJQ- ,~• " '~.,• c,-.5               Harris County, Texas
4909 BISSONNETT ST SUITE 100                  ;_~ ~            '; °c`,              201 CAROLINE Houston Texas 77002
BELLAIRE, TEXAS 77401                                                               (PO Box 4651, Houston, Texas 77210)
713-661-9900                                   ;, s~ •......_.....•   }
Bar Number: 24083552
                                                               "                    Generated By:DANCHELLE BURTON




                                                         Exhibit B-2
             Case 4:21-cv-00548 Document 1-3 Filed on 02/19/21 in TXSD Page 2 of 11




                                                                          Tracking Number: 73833594
1~1



                                                   CAUSE NUMBER: 202103813

PLAINTIFF: HERNANDEZ, LARRY                                                        In the 270th
       vs.                                                                         Judicial District Court of
DEFENDANT: HOME DEPOT USA INC                                                      Harris County, Texas




                                       OFFICER - AUTHORIZED PERSON RETURN

Came to hand at           o' clock _. M. on the              day of                                   , 20       Executed at

(Address)
in

                          County at o'clock _. M. On the              day of                                    , 20           , by

Delivering to                                                           defendant, in person, a true copy of this Citation
together with the accompanying             copy (ies) of the «Attachmenb>. Petition attached thereto and I endorsed on said
copy of the Citation the date of delivery.

To certify which I affix my hand officially this                 day of                                                , 20.

Fees

                                                                          By
                Affiant                                                                               Deputy

On this day,                                                           , known to me to be the person whose signature
appears on the foregoing return, personally appeared. After being by me duly sworn, he/she stated that this citation was
executed by him/her in the exact manner recited on the return.

SWORN TO AND SUBSCRIBED BEFORE ME, On this                       day of                                                , 20_.



                                                                          Notary Public




                                                       Exhibit B-2
                Case 4:21-cv-00548 Document 1-3 Filed on 02/19/21 in TXSD Page 3 of 11
      .      ,                                                        .
                                                                                                                      1/21/2021 2:28 PA
                                                                                           Marllyn Burgess - Dlstrict Clerk Harris Count

                                       2021-038'I 3 I Court: 270
                                                                                                                Envelope No. 4991165,
                                                                                                                             By: D Burtoi
                                                                                                               Flled; 1/21/2021 2:28 PD

                                                CAUSE NO.


           LARRY HERNANDEZ                                      §           IN THE DISTRICT COURT OF
                                                                §
           V.                                                   §          HARRIS COUNTY, T E X A S
                                                                §
           HOME DEPOT U.S.A., INC.                              §                   JUDICIAL DISTRICT

                PLAINTIFF'S ORIGINAL PETITION, .IURY DE__1VIANDAND DISCOVERY
                                        REOUESTS
           TO THE HONORABLE COURT:

                   COMES NOW, LARRY HERNANDEZ, Plaintiff, in the above entitled and numbered

           cause, and through his *counsel of record files this Original Petition complaining of and against

           HOME DEPOT U.S.A., INC, Defendant herein, and for cause of action would respectfully show

           unto the Court and Jury the follovhng: .

                                          A. DISCOVERY CONTROL PLAN

  ~        1.      Pursuant to -Rule 190.4 --of - the Texas Rules of Civil Procedure, Plaintiff, LARRY

           HERNANDEZ, reqtiests a Leve13 discovery control plan.

                                                       B. PARTIES

           2.      LARRY I-IERNANDEZ is an individual residing in Fort Bend County, Texas.

           3.      Defendant HOME DEPOT U.S.A., INC. is a Foreign For-Profit Corporation doing

                          as andinayli~servedwith process by serving its Registered Agent, Corporation
—~ -` ---_- liusiness inT'ex

           Service Company d/b/a CSC-Lawyers Incorporating Service Company, 211 E. 7a` Street, Suite

           620, Austin, Texas 78701-3218, or wherever it may be found.

                                           C. JURISDICTION AND VENUE

           4.      Venue is proper in Harris County, Texas, pursuant to Tex. Civ. Prac. & Rem. Code §15.001

           et seq. because all or a substantial part of the events or omissions givi.ng rise to the claim arose in




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                                                      Exhibit B-2
     Case 4:21-cv-00548 Document 1-3 Filed on 02/19/21 in TXSD Page 4 of 11




Harris County, and because the Plaintiff or one or more defendants did then and do now reside in

Harris County, Texas. This Court has jurisdiction over the parties and subject matter hereof.

                                            D. FACTS

S.       At all times material hereto, Defendant was the owner, manager, operator and/or occupier

of the premises in question, specifically the premises known as Home Depot, Iocated at 14440

Hillcroft, Houston, Harris County, Texas. At all times material hereto, Defendant was in control

of said premises.

6.       Whenever it is alleged in this Petition that Defendant did or failed to do any act or thing,

it is meant that such commission or omission was perforined or omitted by an agent, servant,

representative, employee and/or manager of Defendant, and that in each instance the agent,

servant, representative, employee and/or manager was then acting for and on behalf of Defendant

and within the course and scope of his/her einployment or within the authority delegated to

him/her by Defendant.

7.       On or about December 6, 2018, while on Defendant's premises, located at 14440

Hillcroft, Houston, Harris County, Texas, Plaintiff, LARRY HERNANDEZ, suffered serious and

permanent bodily injuries as a direct result of an occurrence caused by a dangerous condition on

Defendant's premises that Defendant and/or its respective agents, servants and employees knew,

or in the exercise of ordinary care should have known existed. Specifically, Plaintiff had picked

up some 2x6 when suddenly, as he grabbed one, a jagged splintered piece of wood became

embedded in his left hand. The incident and Plaintiffs resulting injuries and damages were

directly and proximately caused by Defendant's negligence in failing to properly inspect a

hidden danger and defective condition on Defendant's premises. At all times material hereto,

Plaintiff was an invitee on Defendant's premises.




                                             -2-

                                          Exhibit B-2
     Case 4:21-cv-00548 Document 1-3 Filed on 02/19/21 in TXSD Page 5 of 11




                          E. NEGLIGENCE/PREMISES LIABILITY.

8.       The condition described above was negligently created and/or allowed to exist by

Defendant, and Defendant negligently allowed it to persist without correcting it or adequately

warning the public, including Plaintiff, of its presence. Defendant was negligent in one or more

of the following particulars, each of which, separately and/or concurrently, was a proximate

cause of the occurrence in question and Plaintiff's resulting injuries and damages:

         a.    In negligently failing to provide Plaintiff a safe place to shop;

         b.    In negligently permitting a dangerous condition to exist in the area of the
               premises where PlaintifPwas shopping;

         C.    In negligently permitting a dangerous condition to exist in the area of the
               premises where Plaintiff was shopping for an unreasonable amount of time;

         d.    In failing to inspect the area of the premises where the incident occurred to ensure
               its safety to patrons/invitees, including Plaintiff;

         e.    In failing to perform adequate, regular and/or timely inspections of the area of the
               premises where the incident occurred to ensure its safety to patrons/invitees,
               including Plaintiff;

         f.    In failing to adequately maintain the premises in question in a reasonably safe
               condition;

         g.    In failing to adequately and timely remove or remedy the dangerous condition as
               described above;

         h.    In failing to properly supervise and train its employees with regard to proper
               inspection of the store for the existence of dangerous conditions such as the one
               described above;

         i.    In failing to properly supervise and train its employees with regard to proper and
               timely removal of dangerous conditions, such as the one described above, existing
               on Defendant's premises;

         j.    In failing to follow Defendant's own policies with regard to inspection of the
               premises in question for dangerous conditions existing on Defendants' premises;

         k.    In failing to adequately warn Plaintiff of the unreasonably dangerous condition
               described above;



                                            -3-

                                         Exhibit B-2
  Case 4:21-cv-00548 Document 1-3 Filed on 02/19/21 in TXSD Page 6 of 11




       1.      In failing to prevent the unreasonably dangerous condition described above from
               occurring or existing;

       M.      In permitting the unreasonably dangerous condition described above to exist when
               Defendant knew or should have known of its existence and that it posed an
               unreasonable risk of bodily harm;

       n.      In failing to inspect all boards to make sure there were no splinters before putting
               out for purchase; and

       o.      In failing to exercise reasonable care to reduce or eliminate the risk posed by the
               unreasonably daigerous condition described above.

9.     Defendant had actual or constructive knowledge of the unreasonably dangerous condition

described above and that it posed an unreasonable risk of bodily injury.

10.    In the alternative, Defendant reasonably should have known of the existence of and

dangers posed by the unreasonably dangerous condition described above.

11.    Nothing Plaintiff did or failed to do caused or contributed to cause the incident in

question or her resulting injuries and damages.

12.    Defendant's negligence described above directly and proximately caused the incident in

question and Plaintiff's resulting injuries and damages.

                                 F.RESPONDEAT SUPERIOR

13.    The person and/or persons who worked in the Defendant's store were agents, servants

and/or employees of Defendant and were acting within the course and scope of their employment

and in furtherance of Defendant's business when Plaintiff was at Home Depot. As Such

Defendant HOME DEPOT U.S.A., INC., is responsible for the conduct due to the master-servant

relationship which existed, and under the doctrine of Respondeat Superior.




                                           -4-

                                        Exhibit B-2
  Case 4:21-cv-00548 Document 1-3 Filed on 02/19/21 in TXSD Page 7 of 11




                                     G. NO CONTRIBUTION

14.    Plaintiff, LARRY HERNANDEZ, would show that nothing he did, or failed to do, in any

way contributed to this accident.

                                          H.. DAMAGES

15.    Due to the occurrence made the basis of this suit and the negligence of Defendant as set

forth above, the Plaintiff sustained significant physical and debilitating injuries. Said elements of

damage which Plaintiff seeks to recover from the Defendant include compensation for the

following:

       a.      The physical pain and disability sustained by Plaintiff from date of injury to the time
               of trial;

       b.      Future physical pain and disability reasonably anticipated to be sustained by Plaintiff
               in the future;

       C.      Mental anguish and suffering sustained by Plaintiff ffrom date of injury to time of
               trial;

       d.      Mental anguish and suffering which is reasonably anticipated to be suffered by
               Plaintiff in the future;

       e.      Loss of earrungs sustained by Plaintiff from date of injury to time of trial;

       f       Loss of earnings and eanung capacity reasonably anticipated to be suffered by
               Plaintiff in the fizture;

       g.      Reasonable and necessary medical expenses incurred by Plaintiff in the treatment of
               Plaintiffs injuries from date of injury to time o£trial;

       h.      Reasonable and necessary medical expenses reasonably anticipated to be sustained
               by Plaintiff in the future for treatment of Plaintiffs injuries;

       i.      Past and future physical disfigurement; and

       j.      Past and future physical impairment.

16.    As such, Plaintiff affirmatively pleads that he seeks monetary relief aggregating over

$250,000.00 but.less than $1,000,000.



                                            -5-

                                          Exhibit B-2
 Case 4:21-cv-00548 Document 1-3 Filed on 02/19/21 in TXSD Page 8 of 11




                                 I. REQUEST FOR NRY TRIA.L

17.    Plaintiff requests a jury trial.

                                          J. PRE-EXISTING INJURY

18.    In the alternative, Plaintiff, LARRY HERNANDEZ, would show that if any injury and/or

condition from which he currently suffers was pre-existing, then such condition was aggravated,

exacerbated, and/or made worse by the negligence of the Defendant herein.

                                      K. SUBSEQUENT INJURY

19.    In the alternative, Plaintif~ LARRY HERNANDEZ, would show that if he suffers from any

subsequent injury and/or condition then such injury and/or condition was aggravated and/or

exacerbated by the negligence of the Defendant herein.

                                L. REQUEST FOR DISCLOSURE

20.    Pursuant to Rule 194 of the Texas Rules of Civil Procedure, you are hereby requested to

disclose, within fifl,y (50) days of service of this document, the information or material described

below. Please serve your responses on counsel representing tlus Plaintiff, and produce true and

correct copies of all documents and other tangible items with your responses, in accordance with

Rule 194.4,

21.    Plaintiff requests disclosure of the following, pursuant to Rules 194.2:

       (1)     the correct names of the parties to the lawsuit;

       (2)     the name, address, and telephone number of any potential parties;

       (3)     the legal theories and, in general, the factual bases of Defendant's claims or defenses;

       (4)     the amount and any method of calculating economic damages;

       (5)     the name, address, and telephone number of persons having knowledge of relevant
               facts, and a brief statement of each identified person's connection with the case;




                                              -6-
                                            Exhibit B-2
  Case 4:21-cv-00548 Document 1-3 Filed on 02/19/21 in TXSD Page 9 of 11




        (6)     A copy-or a description by category and location-of all documents, electronically
                stored information, and tangible things that the Defendant has in its possession,
                custody or control, and may use to support its claims or defenses, unless the use
                would be solely for iinpeachment;

        (7)     any indemnity and insuring agreements described in Rule 192.3(fl;

        (8)     any settlement agreements described in Rule 192.3(g);

        (9)     any witness statements described in Rule 192.3(h);

        (10)    in a suit alleging physical or mental injury and damages from the occurrence that is
                the subject of the case, all medical records and bills that are reasonably related to the
                injuries or damages asserted or, in lieu thereof, an authorization permitting the
                disclosure of such medical records and bills;

        (11)    in a suit alleging physical or mental injury and damages from the occurrence that
                is the subject of the case, all medical records and bills obtained by the responding
                parry by virtue of an authorization furnished by the requesting party; and.

        (12)    the name, address, and telephone number of any person who may be designated as
                a responsible third party.

                                          M. SPOLIATION

22.     Defendant is hereby requested to retain any and all witness statements, incident reports,

photographs, facsimiles, email, voice mail, text messages, and any electronic image or information

related to the referred incident and all investigative materials associated with this claim, together

with all surveillance tapes/video of the premises on the date of this incident. Plaintiff further

requests Defendant provide a copy of the surveillance video.

                                             N. PRAYER

23.     WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Defendant be cited to

appear and answer herein, and that upon fmal trial hereof, Plaintiff recovers from said Defendant, a

sum over $250,000.00 but less than $1,000,000, costs of Court, pre judgment and post judgment

interest at the legal rate, and for any and all further relief, both general and special, legal and

equitable to which Plaintiff may be justly entitled.



                                             -7-
                                           Exhibit B-2
Case 4:21-cv-00548 Document 1-3 Filed on 02/19/21 in TXSD Page 10 of 11




                                 Respectfully submitted,

                                 NAVA LAWGROUP, P.C.


                                                     ~-'Yuil.~./.
                                 RICHARD JASON NAVA
                                 SBN: 24083552
                                 4909 Bissonnet St., Suite 100
                                 713/661-9900
                                 713/666-5922 Facsimile
                                Email: eserviceRJN@stern-lawgroup.com
                                ATTORNEYS FOR PLAINTIFF




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                             Exhibit B-2
                                 Case 4:21-cv-00548 Document 1-3 Filed on 02/19/21 in TXSD Page 11 of 11



LEGAL DOCUlVENT MANAGENIENT
  5930 I.,BJ FREEWAY SUITE 307
     1llALLAS, TEXAS 75240
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                                                              CORPORATION SERVICE COMPANY
                                                                   211 E. 7th STREET,, #620
                                                                    AUSTIN, TEXAS 78701




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